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                                                                     PRO HAC VICE APPLICATION,
 UNITED STATES DISTRICT COURT                                      ECF REGISTRATION AND CONSENT
EASTERN DISTRICT OF CALIFORNIA                                        TO ELECTRONIC SERVICE,
                                                                         PROPOSED ORDER


  United States of America

                                     Plaintiff(s),
                                                      Case No. 2:06-cr-00441-GEB
  v.

  Donald Hayles

                                  Defendant(s).


          I,    Adam Douglas Fein                                                                    ,

 attorney for Donald Hayles                                                                          ,

 hereby petition for admission to practice Pro Hac Vice under the provision of Local Rule

 83-180(b)(2). I understand and consent to ECF Registration and Electronic Service as detailed

 below and I have submitted payment in the amount of $180.00 to the Clerk, U.S. District Court.

 In support of this petition, I state under penalty of perjury that:

          My business address is:

 Firm Name:              Rosenblum, Schwartz, Rogers & Glass, P.C.

 Address:                120 South Central, Suite 130



 City:                    Clayton,

 State:                   MO                         ZIP Code:   63105

 Voice Phone:             ( 314         ) 862-4332

 FAX Phone:               ( 314         ) 862-8050

 Internet E-mail:         Afein@rsrglaw.com

 Additional E-mail:

 I reside in City:        Wildwood                                     State: MO

          I was admitted to practice in the Eastern Distrtict of Missouri                      (court)

 on 11/23/2004                                             (date). I am presently in good standing and
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eligible to practice in said court. I am not currently suspended or disbarred in any other court.

          I have G / have not XG concurrently or within the year preceding this application made

a pro hac vice application to this court. (If you have made a pro hac vice application to this

court within the last year, list the name and case number of each matter in which an

application was made, the date of application and whether granted or denied.)




                                                                                                    .

          I hereby designate the following member of the Bar of this Court who is registered for

ECF with whom the Court and opposing counsel may readily communicate regarding the

conduct of the case and upon whom electronic notice shall also be served via the court's ECF

system:

Name:             Gail Shifman

Firm Name:        Shifman Group

Address:          633 Battery Street, Suite 635



City:             San Francisco

State:            CA                  ZIP Code: 94111

Voice Phone: ( 415           ) 551-1500

FAX Phone:        ( 415      ) 788-6787

E-mail:           gail@shifmangroup.com


Dated: 3/20/2008                       Petitioner: /S/ Adam D. Fein

                                              ORDER

          IT IS SO ORDERED.
       April 11,21,
Dated: March     2008
                    2008




                                           GARLAND E. BURRELL, JR.
                                           United States District Judge
